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                           EXHIBIT 3
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29 January 2019




Recent Trends in Securities Class
Action Litigation: 2018 Full-Year Review
Record Pace of Filings, Despite Slower Merger-Objection Growth
Average Case Size Surges to Record High
Settlement Values Rebound from Near-Record Lows


By Stefan Boettrich and Svetlana Starykh
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              Foreword
              I am excited to share NERA’s Recent Trends in Securities Class Action Litigation:
              2018 Full-Year Review with you. This year’s edition builds on work carried out over
              numerous years by many members of NERA’s Securities and Finance Practice. In
              this year’s report, we continue our analyses of trends in filings and settlements and
              present new analyses, such as how post-class-period stock price movements relate to
              voluntary dismissals. While space does not permit us to present all the analyses the
              authors have undertaken while working on this year’s edition, or to provide details
              on the statistical analysis of settlement amounts, we hope you will contact us if
              you want to learn more about our work related to securities litigation. On behalf of
              NERA’s Securities and Finance Practice, I thank you for taking the time to review our
              work and hope you find it informative.

              Dr. David Tabak
              Managing Director
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  Figure 27. Median of Settlement Value as a Percentage of NERA-Defined Investor Losses by Level of Investor Losses
             Excludes Settlements for $0 to the Class
             January 1996–December 2018


                                                      25%
Settlement Value as a Percentage of Investor Losses




                                                      20%     19.4%




                                                      15%




                                                      10%
                                                                           8.4%




                                                                                      4.7%
                                                      5%
                                                                                                  3.1%         2.6%
                                                                                                                            1.8%        1.6%
                                                                                                                                                   1.2%
                                                                                                                                                            0.9%        0.7%

                                                      0%

                                                       Less than      $20–$49     $50–$99    $100–$199    $200–$399      $400–$599    $600–$999   $1,000–   $5,000–    $10,000
                                                         $20                                                                                      $4,999    $9,999    or Greater
                                                                                                         Investor Losses ($Million)




Median NERA-Defined Investor Losses over Time
Prior to 2014, median NERA-defined Investor Losses for settled cases had been on an upward
trajectory since the passage of the PSLRA. As described above, the median ratio of settlement size
to Investor Losses generally decreases as Investor Losses increase. Over time, the increase in median
Investor Losses coincided with a decreasing trend in the median ratio of settlement to Investor
Losses. Of course, there are also year-to-year fluctuations.

As shown in Figure 28, the median ratio of settlements to NERA-defined Investor Losses was
2.6% in 2018. This was the third consecutive year of at least a short-term reversal of a long-term
downtrend of the ratio between passage of the PSLRA and 2015.




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Figure 28. Median NERA-Defined Investor Losses and Median Ratio of Settlement to Investor Losses by Settlement Year
           January 2009–December 2018

                                    800                                                                                                       3.0%
                                             Median Investor Losses
                                                                                             $750
                                             Median Ratio of Settlement to Investor Losses
                                                                                                                                2.6%   2.6%
                                    700
                                          2.4%             2.4%                                                                               2.5%
                                                                                    $631

                                    600               $584




                                                                                                                                                     Median Ratio of Settlement to Investor Losses
                                                                                                                      2.1%
                                                                                             1.9%
Median Investor Losses ($Million)




                                                                                                                                              2.0%
                                    500                               $493          1.8%               $492
                                                                                                                                       $479
                                                                                                               $449      $449
                                                                                                       1.7%
                                          $389                                                                 1.6%
                                    400                                                                                                       1.5%


                                                                      1.3%
                                    300
                                                                                                                                $249          1.0%


                                    200


                                                                                                                                              0.5%
                                    100



                                     0                                                                                                        0.0%
                                          2009        2010            2011           2012    2013      2014    2015      2016   2017   2018
                                                                                             Settlement Year




Explaining Settlement Amounts
The historical relationship between case attributes and other case- and industry-specific factors
can be used to measure the factors correlated with settlement amounts. NERA has examined
settlements in more than 1,000 securities class actions and identified key drivers of settlement
amounts, many of which have been summarized in this report.




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About NERA

NERA Economic Consulting (www.nera.com) is a global firm of experts dedicated to applying
economic, finance, and quantitative principles to complex business and legal challenges. For over
half a century, NERA’s economists have been creating strategies, studies, reports, expert testimony,
and policy recommendations for government authorities and the world’s leading law firms and
corporations. We bring academic rigor, objectivity, and real world industry experience to bear on
issues arising from competition, regulation, public policy, strategy, finance, and litigation.

NERA’s clients value our ability to apply and communicate state-of-the-art approaches clearly and
convincingly, our commitment to deliver unbiased findings, and our reputation for quality and
independence. Our clients rely on the integrity and skills of our unparalleled team of economists
and other experts backed by the resources and reliability of one of the world’s largest economic
consultancies. With its main office in New York City, NERA serves clients from more than 25 offices
across North America, Europe, and Asia Pacific.



Contacts
For further information, please contact:

Dr. David Tabak
Managing Director
New York City: +1 212 345 2176
david.tabak@nera.com

Stefan Boettrich
Senior Consultant
New York City: +1 212 345 1968
stefan.boettrich@nera.com

Svetlana Starykh
Senior Consultant
White Plains, NY: +1 914 448 4123
svetlana.starykh@nera.com




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